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February 6, 2018

VIA ECF

Hon. Henry B. Pitman
United States Magistrate Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:  Peter Bryan Torres v. The American Museum of Natural History and Juan
Montes, 17 CV 2825

Dear Judge Pitman:

We represent Plaintiff Peter Bryan Torres in the above-referenced action against Defendants
The American Museum of Natural History and Juan Montes. We respectfully request leave to
respond to the Defendants’ letter (Dct. No. 38), filed on February 6, 2018, to address the
flagrant misrepresentations of fact contained in Defendants’ letter.

Thank you for Your Honor’s time and attention to this matter.

Respectfully submitted,


s/Walker G. Harman, Jr.
Walker G. Harman, Jr.

cc:    All Counsel of Record (via ECF)
